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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                      Case No. 11-cr-00315 (WHW)

vs.

MITCHELL KURLANDER and
ALAN ABESHAUS,                                 ORDER CONTINUING TRIAL DATE
                      Defendants.



       THIS MATTER having come before the Court on the application of Defendant Alan

Abeshaus, through his attorneys, Marino, Tortorella & Boyle, P.C. (Kevin H. Marino, Esq.,

appearing) for an Order continuing the trial date in this matter from Tuesday, March 19, 2013 to

Tuesday, April 2, 2013; and the Government (Lee Cortes, AUSA and J. Fortier Imbert, AUSA,

appearing) and Defendant Mitchell Kurlander, through its attorneys, Stevens & Lee (William A.

DeStefano, Esq. and Tern Paweiski, Esq., appearing) having consented to this adjournment; and

good cause having been shown;


       IT IS on this /iday of March, 2013,


       ORDERED that the trial in this matter be and hereby is adjourned from Tuesday, March

19, 2013, to Tuesday, April 2, 2013



                                          /      I
                                                                /     I



                                          United States Senior District Judge
